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.\'i“rr)uNi-'.v i\'i‘ ]..»\\\‘ FACSIMILE-. 703-652-6010 r\'rlc)RNir.v i\ i' l..\\t'
March 8, 2019
VIA ELECTRONIC FILING

 

The Honorab|e G. Michael Harvey

United States District Court for the District of Columbia
333 Constitution Avenue, N.W.

Washington, D.C. 2000]

Re: United States v. Al| Assets, et. al.. No. l:O4-CV~00798 PLF/GMH (D.D.C.)

Dear l\/lagistrate Judge Harvey:

The current information in the possession of counsel regarding the deposition of claimant
A|exander Lazarenko is that A|exander Lazarenko wishes to withdraw his claim in this
proceeding and does not wish to participate further in this lawsuit. Counsel is preparing
documents for Alexander Lazarenl<o to sign and tile which would effectuate that intent, but such
documents have not yet been signed by him.

Given the information l have at this time, it would be wasteful for the government to
expend additional resources preparing for a deposition oi`Alexander Lazaren|<o on March |8,
2019 in Kiev, l.ll<raine.l Should Alexander Lazarenko change his position with respect to
withdrawing his claim prior to executing and filing the appropriate documents, counsel would
not object to the rescheduling of his deposition outside the window of time currently authorized
for fact discovery in this case.

Kateryna and Lessia Lazarenko maintain their claims in this matter, and are prepared to
sit for deposition in Washington. D.C. on March 12 and March 13 as noticed by the United
States.

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Emily R. Beckman

 

‘ At any rate, given my conversations with Alex Lazarenko. even ifthere were a deposition in UkTaine, he does not
live anywhere near Kiev and we would object to his deposition being taken there.

